      Case 2:19-mc-03874-WKW-WC Document 6 Filed 06/19/19 Page 1 of 1



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

TIMOTHY A. WALLACE,                          )
individually and on behalf of all others     )
similarly situated,                          )
                                             )
       Plaintiffs,                           )
                                             )
v.                                           )       Case No. 2:19mc3874-WKW-WC
                                             )
SOUTHERN CABLE SYSTEMS, LLC,                 )
and JERRY RUSSELL TYLER,                     )
                                             )
       Defendant.                            )

                                           ORDER

       Pending before the Court is a Motion to Quash Plaintiff’s Subpoena (Doc. 1) filed

by Allied Eastern Indemnity Company. Plaintiff filed a response (Doc. 5) representing that

the parties have reached a settlement of all issues and that the motion has been resolved.

Accordingly, it is hereby

       ORDERED as follows:

       (1)    The telephone hearing set for June 19, 2019, at 11:00 a.m. is cancelled;

       (2)    The Motion to Quash Plaintiff’s Subpoena (Doc. 1) is DENIED as moot; and

       (3)    The Clerk of the Court is DIRECTED to close this file.

       Done this 19th day of June, 2019.



                                   /s/ Wallace Capel, Jr.
                                   WALLACE CAPEL, JR.
                                   CHIEF UNITED STATES MAGISTRATE JUDGE
